                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       CASE NO. 1:10-cr-13-021
 v.                                                   )
                                                      )       COLLIER / LEE
 HERBERT LENDERMAN                                    )


                               REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 25, 2010.

 At the hearing, defendant moved to withdraw his not guilty plea to Count One of the twenty-three-

 count Indictment and entered a plea of guilty to Count One of the Indictment, in exchange for the

 undertakings made by the government in the written plea agreement. On the basis of the record

 made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

 the plea is made knowingly and with full understanding of each of the rights waived by defendant;

 the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

 in the plea agreement; the defendant understands the nature of the charge and penalties provided by

 law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Indictment be granted, his plea of guilty to Count One of the Indictment be accepted, the

 Court adjudicate defendant guilty of the charges set forth in Count One of the Indictment, and a

 decision on whether to accept the plea agreement be deferred until sentencing. Defendant's bond

 was revoked and I further RECOMMEND defendant remain in custody until sentencing in this




Case 1:10-cr-00013-TRM-SKL            Document 313        Filed 06/01/10     Page 1 of 2      PageID
                                            #: 561
 matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.



                                        s/Susan K. Lee
                                        SUSAN K. LEE
                                        UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




Case 1:10-cr-00013-TRM-SKL            Document 313         Filed 06/01/10      Page 2 of 2      PageID
                                            #: 562
